1
      STEVEN J. SIBLEY (SBN 152365)
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6     Counsel to KURT MILLER,
      Movant.
7

8
                         THE UNITED STATES BANKRUPTCY COURT
9
                 NORTHERN DISTRICT OF CALIFORNIA-SAN JOSE DIVISION
10
      IN RE:                                         Case No. 18-51575 MEH
11

12           GLORIA CABRAL,                          Chapter 13

13                                                   AMENDED NOTICE OF HEARING ON
                    Debtor.                          MOTION TO TERMINATE, ANNUL AND
14                                                   FOR IN REM RELIEF FROM THE
                                                     BANKRUPTCY AUTOMATIC STAY
15
                                                     [Property: 3474 Gila Drive, San Jose,
16                                                   California 95148]

17                                                   Relief from Fed. R. Bank. P. 4001(a)(3)

18                                                   Hearing
                                                     Date: October 5, 2018
19                                                   Time: 10:00 a.m.
                                                     Place: Courtroom 3020
20                                                           Federal Courthouse-San Jose
                                                             280 South First Street
21                                                   Judge: M. Elaine Hammond

22

23

24          TO THE DEBTOR GLORIA CABRAL, DEVIN DERHAM BURK, THE

25    CHAPTER 13 TRUSTEE, SECURED CREDITOR BANK OF NEW YORK:
26          PLEASE TAKE NOTICE that the Amended Motion and supporting pleadings
27
      for KURT MILLER (Movant or Lender) for Relief from the Bankruptcy automatic stay
28
      have been filed and is set for hearing at the time and place set forth above.




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1
            This Motion was initially scheduled for hearing on September 14, 2018.
2
      However, the beneficiary for the 1st deed of trust against the Property was changed
3
      from the Bank of America to the Bank of New York (BNY). As a result, the hearing on
4

5     this Motion has been rescheduled to the time and place set forth above.

6           PLEASE TAKE FURTHER NOTICE: That any response to the Motion is
7     governed by Fed. R. Bank. P. 4001, 9014 and B.L.R. 4001-1.
8

9
                                              DINAPOLI & SIBLEY
10
      Dated: September 20, 2018                      /s/ Steven J. Sibley
11

12                                            STEVEN J. SIBLEY

13                                            Counsel for Moving Party

14                                            KURT MILLER
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